Case No. 1:08-cv-01742-PAB-KLM Document 1 filed 08/07/a8-- WEE YCPIOFAIC™ Pg frO 9

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

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Civil Action No.
(To be supplied by the court)
James Facey , Plaintiff,
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v. ; i. cooper COUR,
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Lt. Hartnan CREGOR Ye 4
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blaine Wreyers LER
SOY
i JY tel , Defendant(s).

PRISONER'S MOTION AND AFFIDAVIT
FOR LEAVE TO PROCEED PURSUANT TO 28 U.S.C. §'1915

T request leave to commence this civil action without prepayment of fees or security

therefor pursuant to 28 U.S.C. § 1915. In support of my request, I declare that:

Tam unable to pay such fees or give security therefor.

2. Jam entitled to redress.

3. The nature of this action is:

(Rev. 11/01/04)

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4. My assets and their value are listed below: (attach an additional page if necessary)

(Assets may include income from employment, rent payments, interest or dividends, pensions, annuities, life
TSUDA Pay Go, OVKIGE OOLULILY, YOULL MUS Wa) GOUCLILS, LUSADUILY PCLISLUES, WUITKED 5
Compensation, unemployment benefits, gifts or inheritances, cash, funds in bank accounts, real estate,

stocks, bonds, notes, automobiles or other valuable property (excluding ordinary household furnishings and
clothing), or any other source of income.)

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5. ? you in imminent danger of serious physical injury?
vo Yes __ No (CHECK ONE). If you answered yes, briefly explain your answer:

DECLARATION UNDER PENALTY OF PERJURY

I declare under penalty of perjury that the information in this motion and affidavit is true
and correct. See 28 U.S.C. § 1746; 18 U.S.C. § 1621.

Executedon ¢ Jef | 06
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(Date)

Dre Yoni

(Prisoner’s Original Signature)

Required Certification
You must attach to this motion and affidavit a certified copy of your trust fund account
statement (or institutional equivalent) for the six-month period immediately preceding the filing
of this action. You must obtain the certified copy of your trust fund account statement (or

institutional equivalent) from the appropriate official of each penal institution at which you are or
were confined during the six-month period.

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ARAPAHOE COUNTY SHERIFFS OFFICE

. Resident Accownt Summary
Tuesday, July 29, 2008 @05:40

For Jacket #: 200800002382 FAIRCLOTH, JAMES ARTHUR
Date Transaction Description Amount Balance Owed Held Reference

Uv /2o/2ZU08 MISC CHARGER NUTARY 2.00 U.OU 77.50 0.00
07/25/2008 MISC CHARGE 1 OUT 72408/W/DIST cT 0.42 0.00 75.50 0.00
07/24/2008 MISC CHARGE 20UT72408/W/ATF/ANTI DEF 0.84 o.00 75.08 0.60
07/24/2008 XFER FUNDS INDIGENT PKG 7/25/08 0.00 0.00 74.24 0.00
05/22/2008 MEDICAL CRAIG 05/19/08 10.00 0.00 74.24 0.00
05/22/2008 MEDICAL CRAIG 05/19/08 10,00 0,00 64,24 0.00
05/22/2008 MEDICAL CRATG 05/19/08 10,00 0,00 54.24 0,00
04/30/2008 MISC CHARGE NOTARY 2.90 0.00 44,24 0.00
04/25/2008 MISC CHARGE 10UT42508/W/CTY CT OLATTA 0,42 0.00 42.24 0.00
04/19/2008 MISC CHARGE NOTARY . 2,00 9,00 41.82 0.00
04/16/2008 XFER FUNDS INDIGENT PKG 04/18/08 0.00 0,06 39.82 0,00
04/01/2008 MISC CHARGE 10UT40108/W/RITTER 0.41 0,00 39.82 0,06
03/31/2008 MISC CHARGE 100T33108/W/FAMILY SUPPOR 0.41 0,00 39.41 0,00
03/29/2008 DEPOSIT CAS INITIAL DEPOSIT - REINSTA 0.00 0.00 39.00 0.00
03/22/2008 MISC CHARGE NOTARY 2.00 0.00 39.00 0.00
03/20/2008 MEDICAL NRS ASSESS 03/18/08 5.00 0.00 37,00 0.06
03/12/2008 XFER FUNDS INIDGENT PKG 03/14/08 0.00 0.00 32,00 0.00
03/08/2008 MISC CHARGE NOTARY 2.06 0.00 32,00 0.00
02/15/2008 BOOKING FEE BOOKING CHARGE 30.00 0.00 30.00 0.00

